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                                   STATEMENT OF FACTS

       Your affiant, Jared D. Gustafson, is an Investigator with the New York State Department of
Corrections and Community Supervision - Office of Special Investigation and Task Force Officer
with the Federal Bureau of Investigation (FBI) assigned to the Joint Terrorism Task Force in the
Buffalo Field Office. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Task Force Officer, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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            During national news coverage of the aforementioned events, video footage which
    appeared to be captured on mobile devices of persons present on the scene depicted evidence of
    violations of local and federal law, including scores of individuals inside the U.S. Capitol building
    without authority to be there.

        Following the January 6, 2021 attack on the Capitol, your affiant received and reviewed
multiple tips submitted by members of the public. On February 3, 2021, law enforcement received a
tip from the FBI National Threat Operations Center (NTOC) that John “Jack” JURAN was involved
in the breach of the U.S. Capitol on January 6, 2021. The tipster stated the following: “A person I
know who is on Facebook was there. Admits to being on the scaffolding. Not sure if this is
trespassing or not. Do not believe he was involved in violence but anyone there especially on the
scaffolding seems to be breaking the law. If not my apologizes.”

            According to records obtained through a search warrant, which was served on Google, a
    mobile device associated with the Google account jjuran163@gmail.com was present at the U.S.
    Capitol on January 6, 2021. Google estimates device location using sources including GPS data and
    information about nearby Wi-Fi access points and Bluetooth beacons. This location data varies in
    its accuracy, depending on the source(s) of the data. As a result, Google assigns a “maps display
    radius” for each location data point. Thus, where Google estimates that its location data is accurate
    to within 10 meters, Google assigns a “maps display radius” of 10 meters to the location data point.
    Finally, Google reports that its “maps display radius” reflects the actual location of the covered
    device approximately 68% of the time. In this case, Google location data shows that a device
    associated with the Google account jjuran163@gmail.com was within the U.S. Capitol on January
    6, 2021 between the hours of 2:29 p.m. through 2:59 p.m. EST. Google records show that of 17
    location data points within the Capitol corresponding to corresponding to jjuran163@gmail.com ,
    the “maps display radius” for this location data was between 100 and 200 feet, which encompasses
    an area that is entirely within the U.S. Capitol Building.

           On February 16, 2021, legal process was served to Google LLC to obtain subscriber
    information for Google Account ID: 554893570672 and email jjuran163@gmail.com. On
    February 16, 2021, returns from Google LLC indicated that the Google Account ID:
    554893570672 and email account jjuran@gmail.com were created on September 1, 2012 and
    subscribed to by John JURAN. The returns also listed a backup email address of
    jjuran164@yahoo.com and a backup SMS text messaging phone number ending in -5110. 1

           Law enforcement records show the area code for the phone number ending in -5110 is an
    area code servicing Western New York, including Buffalo and Williamsville, New York.

             Between February 8, and February 9, 2021, law enforcement officers compared a known
    image of JURAN obtained from New York State Department of Motor Vehicles on February 8,
    2021 (Photo 1) to images and surveillance footage obtained by other law enforcement at and
    around the U.S. Capitol on January 6, 2021 (Photos 2, 2 3, 4, 5, and 6). As shown below in Photos
    2, 3, 4, 5, and 6, the individual believed to John “Jack” JURAN had a mustache and was wearing
    a white cowboy hat that read, “TRUMP 2020.” The underside of the hat’s brim had stars and

1
  The records included the full number, but for purposes of this public filing only that four digits
are included.
2
  The typewritten identification of “Jack Juran” appeared on the photograph provided by the Media
Exploitation Unit.
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stripes. Further, the individual was wearing a gray shirt beneath a gray jacket.




                                                 Photo 1




                                                 Photo 2
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                              Photo 3                                         Photo 4




                              Photo 5                                         Photo 6

        Your affiant showed Photos, 1, 2, 3, 4, 5, and 6 to the tipster. The tipster stated that he/she
submitted a duplicate of Photo 2 to the FBI without the notation “Jack Juran.” The tipster positively
identified the person in all six photos was the person she knew as “Jack” Juran.

       Your affiant was able to locate a publicly available Facebook page for Jack JURAN. In a
January 6, 2021, Facebook post, JURAN posted: “Look who I found in DC!!!” and included Photo
7.
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                                     Photo 7

       On February 24, 2021, your affiant reviewed surveillance footage of an individual
resembling JURAN inside the U.S. Capitol in the interior area of the West Stairs Door at 2:54 p.m.
EST. This time is consistent with the time when, according to the Google search warrant, the user of
the Google account jjuran163@gmail.com was within the U.S. Capitol. The West Stairs Door
accesses the first floor of the Capitol from the south side of the building containing the Senate
chambers. Your affiant believes the individual in Photo 8, wearing a gray jacket, blue jeans,
black shoes, white cowboy hat, and holding a cell phone in his left hand, is consistent with other
photographs of JURAN.




                                               Photo 8
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        On February 24, 2021 your affiant also reviewed surveillance footage of an individual in
the Capitol in the area of the West Stairs Door near room S132 at approximately 2:54 p.m. EST
that also consistently resembles JURAN. (Photo 9).




                                             Photo 9

        An individual holding a cell phone in his left hand and also wearing the same gray jacket,
blue jeans, black shoes, and white cowboy hat was observed on surveillance footage exiting room
S132 at approximately 2:55 p.m. EST (Photos 10 and 11), in the hall near the West Stairs and room
S132 at approximately 2:55 p.m. EST (Photos 12 and 13) walking away from the West Stair
entrance.




                                              Photo 10
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                                              Photo 11




                                              Photo 12




                                             Photo 13

        Finally, your affiant reviewed surveillance footage of an individual holding a cell phone in
his left hand and wearing the same gray jacket, blue jeans, black shoes, and white cowboy hat
exiting the U.S. Capitol through the West Stairs entrance/exit at approximately 2:59 p.m. EST
(Photos 14 and 15). Comparing the individual seen in the photos with the individual seen in Photos
2-7, your affiant believes that the images of the person depicted in the in Photos 8-15 are consistent
with the known images of JURAN.
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                                              Photo 14




                                              Photo 15
        Based on the foregoing, your affiant submits that there is probable cause to believe that
John JURAN violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that John JURAN violated 40
U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud, threatening,
or abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or
in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of
a session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress; and
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(G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                         Jared D. Gustafson, Task Force Officer
                                                         Federal Bureau of Investigation

 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
 telephone, this 21st day of April, 2021.
                                                                                2021.04.21
                                                                                17:03:03 -04'00'
                                                           ZIA M. FARUQUI.
                                                           U.S. MAGISTRATE JUDGE
